Case:17-17465-KHT Doc#:511 Filed:08/15/18                Entered:08/15/18 15:03:27 Page1 of 6




                        IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF COLORADO

 In re:                                              )
                                                     )   Case No. 17-17465-KHT
 BADLANDS ENERGY, INC.                               )   Chapter 11
 EIN: XX-XXXXXXX,                                    )
        Debtor.                                      )
                                                     )
 In re:                                              )
                                                     )   Case No. 17-17467-KHT
 BADLANDS PRODUCTION COMPANY                         )   Chapter 11
 EIN: XX-XXXXXXX,                                    )
        Debtor.                                      )
                                                     )
 In re:                                              )
                                                     )   Case No. 17-17469-KHT
 BADLANDS ENERGY-UTAH, LLC                           )   Chapter 11
 EIN: XX-XXXXXXX,                                    )
        Debtor.                                      )
                                                     )
 In re:                                              )
                                                     )   Case No. 17-17471-KHT
 MYTON OILFIELD RENTALS, LLC                         )   Chapter 11
 EIN: XX-XXXXXXX,                                    )
        Debtor.                                      )   Jointly Administered Under
                                                     )   Case No. 17-17465-KHT
                                                     )

                           ORDER CONFIRMING
           DEBTORS’ SECOND AMENDED JOINT PLAN OF LIQUIDATION
                     DATED APRIL 6, 2018 [DOCKET #501]


         This matter is before the Court pursuant to the Debtors’ Second Amended Joint Plan of
 Liquidation Dated April 6, 2018 (the “Plan”) filed by Badlands Energy, Inc., Badlands Production
 Company, Badlands Energy-Utah, LLC and Myton Oilfield Rentals, LLC (together, the
 “Debtors”) on behalf of their jointly administered bankruptcy estates (together, the “Badlands
 Bankruptcy Estates”). Capitalized terms not otherwise defined in this Order are used as defined
 in the Plan.

         The Court heard arguments and received evidence or offers of proof in support of
 confirmation of the Plan on August 8, 2018. All parties in interest received notice and an
 opportunity to be heard. Based upon the Plan, the evidence or offers of proof submitted to the
 Court, the representations of the parties, and the entire record before the Court in this case:
Case:17-17465-KHT Doc#:511 Filed:08/15/18                 Entered:08/15/18 15:03:27 Page2 of 6




        THE COURT HEREBY FINDS AND CONCLUDES as follows:

          1.     The Court has jurisdiction and is empowered to enter a final and dispositive order
 in this plan confirmation proceeding pursuant to 28 U.S.C. §§ 157(b)(2)(A), (L) and (O) and 1334,
 and the automatic referral of bankruptcy matters to this Court from the United States District Court
 for the District of Colorado under D.C.COLO.LCivR 84.1.

        2.      There is good cause to confirm the Plan.

       3.     The objections of the United States Trustee, and Halliburton Energy Services, Inc.
 and Multi-Chem Group, LLC (together “Halliburton”), have been resolved and withdrawn.

         4.      As set forth in the Ballot Summary regarding the results of voting on the Plan that
 was filed on August 3, 2018, Class 1B and Class 3 have accepted the Plan in terms of both number
 and amount. Class 1C of Halliburton also accepted the Plan in accordance with statements made
 of record at the confirmation hearing, in accordance with the “Halliburton Settlement,” which is
 subject to Court approval under the Plan.

        5.      The Plan satisfies all requirements for confirmation pursuant to title 11 of the
 United States Code (the “Bankruptcy Code”).

         6.     The Plan complies with the applicable provisions of the Bankruptcy Code and
 therefore meets the confirmation requirements of Bankruptcy Code § 1l29(a)(1) for the following
 reasons:

                a.      With respect to Bankruptcy Code § 1122(a), the Plan’s classification
 scheme is reasonable and necessary to implement the Plan, and each of the claims or interests
 within each particular class is substantially similar to the other claims or interests in such class.

              b.     The Plan fully complies with all applicable requirements set forth in
 Bankruptcy Code § 1123(a).

               c.    All provisions of the Plan are consistent with the permissive provisions
 which may be incorporated into a Chapter 11 plan under Bankruptcy Code § 1123(b).

         7.       The Debtors have complied with all applicable provisions of the Bankruptcy Code,
 including the requirements of Bankruptcy Code § 1125 in connection with disclosures and the
 solicitation of acceptances to the Plan, and the Debtors have satisfied the confirmation requirement
 of Bankruptcy Code § 1129(a)(2).

        8.     The Plan was proposed by the Debtors in good faith and not by any means forbidden
 by law, because they proposed the Plan with a reasonable belief in the likelihood that the Plan
 would achieve its intended results, which are consistent with the purposes of the Bankruptcy Code.
 The Plan accordingly satisfies the requirements of Bankruptcy Code § 1129(a)(3).

        9.      The Plan provides that all fees and expenses, including the fees and expenses of
 professionals in the administration of the Badlands Bankruptcy Estates through the Effective Date,



                                                  2
Case:17-17465-KHT Doc#:511 Filed:08/15/18                 Entered:08/15/18 15:03:27 Page3 of 6




 remain subject to final review for reasonableness by the Court under Bankruptcy Code § 330. The
 Plan thus satisfies the confirmation requirement of Bankruptcy Code § 1129(a)(4).

         10.    The Plan provides for the establishment of the Badlands Liquidating Trust (the
 “Trust”), and discloses that David V. Wadsworth will act as trustee of the Trust (the “Liquidating
 Trustee”) and will provide services to the Trust at his normal hourly rates for such services. Such
 service by the Liquidating Trustee is consistent with the interests of creditors and equity security
 holders and with public policy. The Plan thus meets the requirements of Bankruptcy Code
 § 1129(a)(5).

         11.      The Plan provides that: (i) it be accepted by each holder of a Claim within each
 class, or (ii) each non-accepting claimholder will receive at least as much under the Plan as it
 would receive in a Chapter 7 liquidation. Therefore, the Plan satisfies the “best interests of
 creditors” test under Bankruptcy Code § 1129(a)(7).

        12.     The Plan satisfies Bankruptcy Code § 1129(a)(8) because Class 1B, Class 1C, and
 Class 3 have accepted the Plan and no other classes were impaired under the Plan.

        13.     The Plan provides that all Allowed Claims under Bankruptcy Code § 507(a)(2) and
 § 507(a)(3) are Administrative Claims to be paid in cash on the earlier of the Effective Date or
 when they become Allowed Claims. The Plan therefore satisfies the requirements of Bankruptcy
 Code § 1129(a)(9)(A).

        14.     The Plan provides that holders of all Allowed Claims under Bankruptcy Code §
 507 are to be paid in full under the Plan, with interest, on the earlier of the Effective Date or when
 they become Allowed Claims. The Plan therefore satisfies the confirmation requirements of
 Bankruptcy Code § 1129(a)(9)(B).

         15.     The Plan provides that any claim under Bankruptcy Code § 507(a)(8) will receive
 regular installment payments in cash of a total value, as of the Effective Date, equal to the allowed
 amount of such claim. The Debtors offer of proof at the confirmation hearing demonstrated that
 the Badlands Bankruptcy Estates have sufficient cash to pay such claims and that they intend to
 pay claims under Bankruptcy Code § 507(a)(8) on the Effective Date. The Plan therefore satisfies
 the requirements of Bankruptcy Code § 1129(a)(9)(C).

        16.    At least one class of Claims that is impaired under the Plan has accepted the Plan,
 not including any acceptance by an insider. The Plan therefore satisfies the confirmation
 requirement of Bankruptcy Code § 1129(a)(10).

        17.     The Plan proposes the substantive consolidation and liquidation of the Badlands
 Bankruptcy Estates’ assets through the establishment of the Trust and therefore satisfies the
 confirmation requirement of Bankruptcy Code § 1129(a)(11).




                                                   3
Case:17-17465-KHT Doc#:511 Filed:08/15/18                Entered:08/15/18 15:03:27 Page4 of 6




        18.    The Plan provides that the filing fees and United States Trustee fees listed in
 28 U.S.C. § 1930 will be paid in full, and therefore the confirmation requirement of Bankruptcy
 Code § 1129(a)(12) is satisfied.

         19.    Bankruptcy Code §§ 1129(a) (6), (13), (14), (15) and (16) are inapplicable to the
 Plan.

         WHEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that,

        A.      The Plan is confirmed according to its terms and conditions except as set forth in
 paragraph L below. Pursuant to §§ 1.31 and 7.2 of the Plan, the “Effective Date” of the Plan shall
 be no earlier than the Court’s entry of an order approving the Halliburton Settlement, as a
 compromise of disputed claims pursuant to Bankruptcy Code § 1123(b)(3)(A), which settlement
 approval order terms shall be incorporated by reference in this Order and made a part of the Plan.
 Notwithstanding § 7.3 of the Plan, neither the Debtors nor the Trustee shall waive entry of an order
 approving the Halliburton Settlement as a condition precedent to the occurrence of the Effective
 Date of the Plan.

         B.      David V. Wadsworth shall be retained as the Liquidating Trustee under the Trust
 and is hereby authorized to perform all the duties and exercise all the powers of the Liquidating
 Trustee as set forth and provided for in the Plan and the Trust.

         C.     By the Effective Date, the Trustee shall pay in full all United States Trustee fees
 listed in 28 U.S.C. § 1930 that are due and owing as of the Effective Date. After the Effective
 Date, the Trust shall pay all quarterly post-confirmation fees due to the United States Trustee as
 required under applicable law.

         D.     The Trustee is hereby authorized to take or cause to be taken all actions that may
 be necessary to implement and effectuate the provisions of the Plan and the Trust, including selling
 or otherwise conveying any property transferred from the Badlands Bankruptcy Estates’ to the
 Trust free and clear of any and all liens, claims, interests, and encumbrances.

         E.     The terms of the Plan and the Trust shall bind the Debtors and any creditor, whether
 or not the Claim or interest of such creditor is impaired under the Plan and whether or not such
 creditor or equity security holder has accepted the Plan.

        F.       Pursuant to the Plan Supplement, sufficient cash reserves exist for the Debtors and
 the Trustee to carry out the Plan.

         G.      All injunctions or stays provided for in the Debtors’ Plan, or under Bankruptcy
 Code §§ 105 or 362 or otherwise in effect on the date of this Order shall remain in full force and
 effect until the Effective Date. This Court shall have the sole and exclusive authority to hear,
 determine and adjudicate any disputes or disagreements regarding such stays or injunctions. Upon
 the Effective Date, all persons are permanently enjoined from taking any actions against the
 Liquidating Trustee or the Trust to enforce or collect any Claim pending payment thereof as
 provided in the Plan and the Trust.



                                                  4
Case:17-17465-KHT Doc#:511 Filed:08/15/18                  Entered:08/15/18 15:03:27 Page5 of 6




         H.      Pursuant to this Order, on the Effective Date, the transfers of the Debtors’
 remaining assets, including, but not limited to, remaining cash proceeds from the prior sales of
 assets and all Avoidance Claims, to the Trust contemplated under the Plan will be deemed legal,
 valid, binding and effective transfers of property and will, to the fullest extent permitted by the
 Bankruptcy Code, vest in the Trust good title to such property, free and clear of all liens, claims,
 interests and encumbrances.

        I.      The transfer of the Badlands Bankruptcy Estates’ assets to the Trust shall be
 deemed a transfer to and for the benefit of the Beneficiaries followed by a deemed transfer by the
 Beneficiaries to the Trust to hold in trust for the benefit of the Beneficiaries, except as otherwise
 provide in the Plan or the Trust. The Beneficiaries shall be treated as the grantors and deemed the
 owners of the Trust.

        J.      On the Effective Date, the Liquidating Trustee, without any further order of the
 Bankruptcy Court, shall have the rights, powers and privileges expressly provided in the
 Liquidating Trust and the Plan, including the payment of administrative expense claims arising or
 accruing prior to the Effective Date.

         K.     Except as provided in paragraph L below, the failure to reference or discuss any
 particular provision of the Plan in this Order shall have no effect on the validity, binding effect
 and enforceability of such provision, and such provision shall have the same validity, binding
 effect and enforceability as every other provision of the Plan, including those referenced in this
 Order.

         L.      If any provision of this Order is hereafter modified, vacated or reversed by
 subsequent order of this Court or any other court, such reversal, modification or vacation shall not
 affect the validity of the obligations incurred or undertaken under or in connection with the Plan
 prior to receipt by the Liquidating Trustee of written notice of any such order; nor shall such
 reversal, modification or vacation hereof affect the validity or enforceability of such obligations.
 Notwithstanding any reversal, modification or vacation hereof, any such obligation incurred or
 undertaken pursuant to and in reliance on this Order prior to the effective date of such reversal,
 modification or vacation shall be governed in all respects by the provisions hereof and of the Plan,
 and all documents, instruments and agreements related thereto, or any amendments or
 modifications thereto.

        M.      From and after the Effective Date, the Trustee may litigate to judgment, propose
 settlements of, or withdraw objections to, all pending or filed Disputed Claims and may settle or
 compromise any Disputed Claim as provided in the Plan and the Trust.

        N.       If the Effective Date does not occur, then the Plan, any settlement or compromise
 embodied in the Plan, and any document or agreement executed pursuant to the Plan shall be null
 and void in all respects.

         O.      Pursuant to Bankruptcy Rule 3020(c), the Trustee shall promptly serve notice of
 entry of this Order as provided in Bankruptcy Rule 2002(f) to all creditors, equity security holders
 and other parties in interest, to be sent by first class mail, postage pre-paid, except to such parties



                                                   5
Case:17-17465-KHT Doc#:511 Filed:08/15/18                  Entered:08/15/18 15:03:27 Page6 of 6




 who may be served by hand or facsimile or overnight courier, which service is hereby authorized.
 The Trustee shall file a notice upon the occurrence of the Effective Date of the Plan.

         P.      To the extent that the terms of this Order are inconsistent with the terms of the Plan,
 the terms of this Order shall control; in all other respects, the terms of the Plan shall remain in full
 force and effect.

         Q.     Notwithstanding the entry of this Order confirming the Plan, and in accordance
 with the Plan, the Court shall retain jurisdiction to consider and approve any applications or
 motions, or objections thereto, that are still pending in this case and to facilitate the performance
 of the Plan and the Trust by entering any further necessary orders regarding interpretation or
 enforcement of the Plan and the Trust, provided however, that nothing in this Order or the Plan
 shall prejudice any party’s right to request that, under applicable law: (i) the Court make an
 independent determination that it has authority to enter a final judgment in any adversary
 proceeding or contested matter; or (ii) the Court abstain from hearing and determining any
 adversary proceeding or contested matter.

        Dated this 15th day of August, 2018.

                                                BY THE COURT:



                                                Kimberley H. Tyson
                                                Honorable United States Bankruptcy Judge




                                                    6
